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HABBA MADAIO Admitted to practice in NJ, NY & CT

& Associates LLP

 

 

November 29, 2022
VIA ECF
The Honorable Lewis A. Kaplan
United States District Court omen
Southern District of New York i USDC SDNY

 

 

 

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Re: £. Jean Carroll v. Donald J. Trump “DATE FILED: (5-49 -2 122

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Dear Judge Kaplan:

We are in receipt of the order filed earlier today (ECF No. 100) and appreciate the Court’s
courtesy in granting the parties’ joint request to modify the scheduling order. In submitting this
letter, we ave simply writing to confirm our understanding that that the parties’ deadline to file
motions for summary judgment and the joint pretrial order has been adjourned to February 9, 2023,

as per Plaintiff's proposed schedule.

We thank the Court for its attention to this matter.

Respectfully submitted,

Alina Habba, Esq.
For HABBA MADAIO & ASSOCIATES LLP

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Memorandum Endorsement Carroll v. Trump, 20-cv-73 Ll (LAK)

Counsel’s understanding is incorrect. As the November 29, 2022 order (Dkt 100)
makes quite clear, the scheduling and supplemental scheduling orders remain in effect except to the
extent that (1) the trial date has been adjourned until April 10, 2023 and (2) the Court adopted the
proposed schedule for i /imine motions and exchange of premarked exhibits. It did not adopt the
proposal to delay the briefing and filing of any summary judgment motions and the filing of a jomt
pretrial order for more than two months, which would threaten to delay even the April 10 trial date,
should a trial prove necessary.

In the circumstances, the Court treats defendant's letter (Dkt 101) as an application
for an extension of time for the filing of any summary judgment motions and the joint pretrial order
and grants it to the extent that (1) any summary judgment motions shall be filed on or before
December 22, 2022, (2) any papers in opposition to any summary judgment motions shall be filed
on or before January 12, 2023, (3) any reply papers shall be filed on or before January 19, 2023, and
(4) the joint pretrial order shall be filed on or before February 9, 2023, The application is otherwise
denied.

SO ORDERED.

Dated: November 30, 2022

sf Lewis A. Kaplan

 

Lewis A. Kaplan
United States District Judge
